12-08-2015 10:56
        Case 9:16-cv-80874-BB Document 1-1 Entered on FLSD Docket 05/31/2016 Page 1 D
                                202.478.0237                                        of 1/1
                                                                                       1



                                                                                                    ''12'
                                                                                                    ,~~'i:~"
                                                                                                            "':.n.1:Iil ('nM'    'I'l'1>·:l'!..tC "'''''ll'')'!I>'l
                                                                                                                        '. ;~~ " ,:t'::&}'(~~)~~:(.lil. .l;~ , ~.'l
                                                                                                             ~~t.~'f>t)i.   "l.?iJrtb
                                                                                                            ,J;':'\.1:;p" ..~.<~ .,\.,:~
                                                                                                                                           O-r:;:l'114,*t)Nt
                                                                                                                                            ... 1 ,1,\,1.
                                                                                                                                                       .J.~ .~
                                                                                                                                                          ..•




     Dear Dr. James Padula,


     We are currently conducting an online survey with Gastroenterologists, and we would
     like to invite you to participate.

     Length: 25 minutes online
     Compensation: $71 for your time upon completion
     Deadline: Thursday, December 10, 2015                          or when   WG   r<~ac.h O~ir d~sil'ed r1limhN of complet(?s


     To participate in this survey, log on using the unique access information below:

     Survey link: httl2:LLwww.m3,glqbalre,search.comLm:xinvite
     User1D:4409439
     Invite Code: R9666F71

    Thank you in advance for your time and participation!


     Regards,


     ~
       .             '"
       .                    ..
    :" .. :.:cCkH~    ,',        '




    Jessica McCann
    VP Global Operations
     M3 Global Research

    Please Note: You must be the doctor to whom this invitation is addressed in order to be compensated for participation, This invitation
    is not for member> of M3 Global Research who may have already received an invitation via email, we apolosize for any duplication,
    Please do not attempt to complete more than once as we can only compensate you once per survey,

    You will need to answer a few screening questions In order to qualify for this survey. Compensation checks will be sent In 4.£ weeks to
    participants who qualify and complete the entire survey. If you have any technical difficulties completing the questionnaire or
    com ments/q uestiom a bout this survey, please contact >y pcori@\dig,mil'kern,


    Please be assured that any opinions expressed in this survey are for research purposes only and will be kept strictly
    confidential. You will not be solicited because of your participation in this study. There are NO sales or endorsements
    associated with this stUdy.

                        If you would like your fax number removed, please call 800.222,9268 or fax 215.689.3706.

    501 OFFICE CENTER DR                                      SUITE 410                                 Blumenfeld
                                                                                                FORT WASHINGTON      000057
                                                                                                                PA 19034
    PHONE 202.293.2288 x792                                                                                            FAX 215.689.3706
